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  ■United States Court of Appeals for the Tenth Circuit:},

  Address: 1823 Stout Street, Denver, CO 80257
  Appellant:       David William Dacres Shaver
  Vs. Appellee(s): Whittier HOA [Whittier Place
  Condominiums Homeowners Association, Incorporated]+ A COURT USE ONLY
  'Pro Se'Party/Not member of Colorado Bar:       Case Number:
  David William Dacres Shaver
  1750 30th St Suite A338, Boulder CO 80301              23-1197
  Phone: 303-351-4239 eMail:davidshaver@yahoo.com
   PETITION FOR REHEARING+ NOTICE OF TAMPERING OR FALSIFI-
  CATION OF THE RECORD, +USC CONFLICTS,+ LIKELY CERTIORARI
     Whereas Appellant thinks that this Panel's decision to respond and give him a
  chance to address issues considered outstanding from your perspective was a cor-
  rect one, and intends to address them one by one. As an engineer, and to his advi-
  sors, at our current level of advisement, and amount of data at hand (over 20mb of
  research was done before initial federal filing alone), so many of these things
  appear obvious; if there is something we are missing, we hope you enlighten us!
  We herein attempt to provide extensible logical ~proofs of the inferability of
  issues spoken on in prior filings, delivered at the level of inference taught in
  ~high school in Appellant's day (though more efficiently or effectively put at lev-
  els used in graduate artificial intelligence at his University).
      [Appellant prefers interpretation via 'original source doctrine'in this case]
             Directed Responses to Points in Appellate Judicial Order
  I. BACKGROUND: Appellant does not feel that this their summary of the
  appeal or case is very complete or terribly/entirely accurate, but intends to .
   [For one thing: This Panel appears to think he should have picked one source of
  jurisdiction, whereas with his background in 'parallel processing', he feels all pro-

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   vided [i1.Doc 24] should've been (and still should be) valid simultaneously (with
  the one providing best perspective for a just resolution used for any given issue)].
    ~Logical Proof of inferability of jurisdictions/ interstate via Aristotelian:
  Major Premise (Universal Affirmative, 'A' proposition): Every case that, upon
  dismissal, guarantees property destruction necessitating interstate action for just
  resolution falls under federal jurisdiction.
     Minor Premise (Particular Affirmative, 'I' proposition): This particular
  case, if dismissed, guarantees property destruction that requires interstate action
  for just resolution.
     Conclusion (Particular Affirmative, 'I' proposition): Therefore, this particu-
  lar case falls under federal jurisdiction.
  II. DISCUSSION
     A. Subject-Matter .Jurisdiction
     1. Section 1983 : This Panel's Claims of Lack of Allegations Under § 1983
  & Absence of a Direct § 1983 Cause of Action in the Initial Filing:
     • Appellant alleged facts and provided evidence which he considers to have
  demonstrated that the HOA can be inferred to be a state actor [i1.Doc lG+,~Doc
  31, @Brief p8]. Indeed § 1983 was included in the version of the 'Civil Cover
  Sheet's cause of action which he supplied to the lower Clerks, before it was tam-
  pered with, and also in his jurisdictional defense, which further explicated that
  government actors could be inferred [i1.Doc 24, p3:II(a),p5:IV]. Appellant's com-
  plaint explicitly indicated that his other filings be considered as part of the com-
  plaint [i1.Doc 1, p6], which Appellant feels should 'include' further jurisdictional
  elements that he had been required to research in [i1.Doc 24].
     After having received this Order, he has now downloaded the lower Court's


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  version of his 'Civil Cover Sheet' [~Doc lAl], reportedly at cost to him, in
  response to this his first notice of such error, seeing that his filings have indeed
  been tampered with, as the text in the original file delivered (and as viewed or
  printed by the default 'Preview' application on his Macintosh [named after his
  ancestral family] {upon which the technology used was first developed}, verifi-
  ably reads "Common Law: Replevin (FRCP Rule 64 and/or 65), potentially with
  Preliminary Injunction (CRCP Rule 104 and/or 365) [including violations of 42
  U.S.C. 1983]" (and the damages altered also, brought at 5M to satisfy C.A.F.A.
  28 USC 1711 minimums), which this Panel should have been able to verify at
  least if upon examination of the 'USB Stick' they appear to be claiming to have
  checked. When Appellant first filed in Federal court, he was denied access to file
  via its electronic filing (unless ~ he were willing to agree to adhere to Court
  Policy as if it were actually equivalent to U.S. law passed by Congress); and thus
  his filings to the lower court were done via email, and to the current Court via
  USPS. In his jurisdictional defense there [~Doc 24 VII(a)], he pointed out errors
  in their Clerks' handling of his documents. In emails to those Clerks, he also
  explicated that they should verify their filings due to these errors [COD ProSe
  Filing:3/15+16/23]. He further provided all of the filings on the USB stick men-
  tioned in said Order again, just in case. Given Appellant's history as a software
  engineer, he thinks it inferrable to anyone with coding experience that a software
  engineer would never intentionally enter truncated information with unbalanced
  parentheses in such a manner.
     Appellant hereby informs this Court that his team currently considers the pre-
  sent state of this tampering to constitute tortious behavior, as in this (which
  includes apparent attempts to suppress items demonstrating the accurate informa-


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  tion he already gave them from the record), particularly if such should continue,
  that parties thus appear to be effectively conspiring with the lower court (with the
  involvement of software published by potential Defendant (specifically 'Adobe'),
  and also in so doing becoming a complicit accomplice to 'Adobe's attempts to
  monopolize the publishing industry) to tamper with evidence, and falsify the
  record, which may also be viewed as a civil conspiracy at least. To Appellant,
  with his engineering and quality assurance background, it is so obvious that it
  ~speaks for itself, that it is inferrable there has been negligence involved (on the
  part of the Court, and the developers of the software involved (Apple, Adobe, and
  those involved in developed your software involved with labelling or serving up
  filings, i.e. who didn't give warning of data truncation), and thus it appears that
  the burden to prove otherwise in this environment should be yours.
                      ~Approximate Logical Proof via ~Aristotelian:
     Major Premise: If an accident of a certain kind occurs, which should not hap-
  pen without negligence, then the occurrence of the accident implies negligence.
     Minor Premise: An accident of this kind (specific to the case at hand) has
  occurred.
     Application of Doctrine (Conclusion): Therefore, it can be inferred that this
  accident implies negligence.
              A   Applications (via extension) to such as 'Res Ipsa Loquitur' A
     Likewise, at his current level of advisement, it appears inferrably obvious to
  Appellant, given that he had informed Defendant and City in advance that their
  behavior appeared tortious, including the supplying of legal precedents in HOA
  meetings (11Exhibit L) and at the scene, as well facially barred by the letter of the
  Constitution, and his actions, in being arrested in a public forum* for exercising


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  his supposedly Constitutional Rights, as a nonsignatory resident beneficiary
  allowed by trust law and terms to visitt, should therefore also inferrably qualify
  as a civil conspiracy, implying that the burden to prove that they weren't negli-
  gent in interpretation of the law should be theirs. {Supreme Court Precedents:
  *Marsh v. Alabama ( 1946) City not allowed to violate, tSurfside 84
  Condominium Association v. Mullen (1999) HOA not allowed to violate rights
  either}. Appellant thinks it thus obvious from the facts and evidence presented
  that parties were acting under qualifying 'color of law'.
  ~ Logical Proof of ~'Forewarned Conspiracy' inferrable via Appellant's filings,

               allowing such via Negligence to shift 'Burden of Proof':
     Major Premise (Focus on Plaintifrs Burden): If a party (plaintiff) presents
  sufficient initial evidence suggesting that Defendant( s) actions, which were fore-
  warned as potentially unlawful, resulted in harm consistent with those warnings
  (and especially if it is later shown that there is even more precedent which a com-
  petent legal specialist should have known about), then this establishes an initial
  case of negligence and possibly conspiracy.
     Minor Premise (Specific Instance): In this case, a Plaintiff provided warnings
  to Defendant(s) about the potentially unlawful nature of their actions based on
  clear legal precedents or constitutional principles, and Defendant(s) proceeded
  with those actions, which resulted in harm consistent with the warnings.
     Intermediate Conclusion (Establishment of an 'Initial Case'): Therefore,
  said plaintiff has established an initial case of negligence and, potentially, conspir-
  acy, based on the provided evidence and the nature of the harm that occurred.
     Additional Consideration (Shift of Evidentiary Burden): Once an 'initial
  case' is established, the burden should shift to Defendant(s) to rebut the presump-


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  tion of negligence and conspiracy that negates said Plaintiff's claims.
     Revised Final Conclusion (Conditional on Rebuttal): The Defendants
  should now be required to present evidence or arguments to counter the 'initial
  case'. If they fail to provide sufficient rebuttal evidence, the inference of negli-
  gence and conspiracy as established by a Plaintiff's initial evidence may stand.
         ~Logical Proof of 'State Actor' inferability via Appellant's filings:
     To clarify Appellant's position that Homeowners' Association (HOA) may be
  inferred as a state actor in this context, thus subject to 1983, we logically integrate
  multiple layers of complexity:
     Appellant's Advance Notice to HOA: Appellant had provided advance notice
  to the HOA regarding the potential constitutional violations, informing them that
  such actions would be considered tortious. This notice indicates that Appellant not
  only foresaw the potential for rights violations but also formally communicated
  these concerns to the HOA. The HOA's decision to proceed despite this warning
  underlines their conscious engagement in actions with legal and constitutional
  implications.
     Presence and Role of Police: The involvement of the police at the scene, act-
  ing upon the HOA's directives or in coordination with them, further blurs the line
  between private governance and state action. This could be seen as state endorse-
  ment or implementation of the HOA's actions, thereby imbuing those actions with
  state authority.
     Judicial Inaction and its Implications: The Courts' refusal to provide alterna-
  tive adjudication, leaving the HOA's decisions as the primary form of resolution,
  effectively places the HOA's actions in a position typically held by state authori-
  ties. This judicial inaction could be construed as a form of implicit state endorse-


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  ment of the HOA's role in adjudication, especially when it involves constitutional
  rights.
     Logical Inference from Filings: Appellant believes that it should thus be
  logically inferable from the filings provided, that the HOA is acting as a state
  actor. The logical progression is as follows : if the HOA is informed of potential
  constitutional violations, proceeds despite this warning, involves the police in
  enforcing its decisions, and faces no alternative adjudication from the courts, then
  it follows that the HOA is functioning in a role akin to state action. The formal
  logic here hinges on the premise that when a private entity assumes roles typically
  reserved for the state, especially in the context of constitutional rights, and does
  so with state involvement or without state correction, it should be treated as a
  state actor.
     Unnecessary to Argue: Appellant contends that this should be an obvious
  conclusion, not something to argue about, given the clear sequence of events and
  the established principles linking state action with constitutional accountability
  under Section 1983.
     • ~'Failure to File an Amended Complaint': The lower Judge's responses
  indicated that she considered none of Appellant's jurisdictional sources valid, as
  opposed to his team's opinion that all of them should have been & still be.
  Appellant pointed out [8Doc 32 p2:D(9)] that she was asking him[8Doc 271+] to
  join 30 Defendants*, which was unreasonable, + without first verifying jurisdic-
  tion (though that* didn't appear to prompt her to find the motions that she had
  ~claimed to have originally missed [@Brief pll(b)] & rectify her false claims),
  and she didn't indemnify against attorney fee penalties as the Complaint [8Doc
  1,p6] had asked for. Her court rules also indicated that she wanted filings to be


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  reformatted in a significantly different manner, etc, which appeared to suggest sig-
  nificant rework(?). Summary: The lower court's claims, especially without clari-
  fications which you have now provided, did not lend itself to modifying the origi-
  nal complaint, and adding additional Defendants without damages provable nor
  jurisdiction verified yet therefore appeared more hazardous.
  On Note #4 / WRT Gaines-Tabb v. ICI Explosives : Appellant objects to this
  application (particularly for such 1 line descriptions of inferrable issues which had
  already been explicated as appeal items). Public records are allowed to be cited.
     2. 'Grable DoctrineApplication': Appellant disagrees w/claims that there
  aren't any issues inferrable as 'special and small' in this case; a few more may be:
     Civil Conspiracy and Federal Law: If the allegations of civil conspiracy
  involve significant federal interests or rights, this might present a federal issue.
  The extent to which federal law governs civil conspiracy, especially in relation to
  evidence manipulation and legal process interference, could be substantial.
     State Actors and Section 1983 Claims in the Context of HOAs: The discus-
  sion about HOAs potentially being considered state actors in certain situations
  could raise significant federal questions. The application of Section 1983 to pri-
  vate entities like HOAs, particularly when they are involved in law enforcement
  activities or when judicial inaction implies state endorsement, can present a sub-
  stantial federal issue.
     Federal Jurisdiction and 'Forewarned Conspiracy' Inference: Jurisdiction
  over actions by non-traditional state actor entities who are identified as such via
  'forewarned conspiracy' (and the application of constitutional protections in such
  scenarios?).




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     3. Declaratory .Judgment Act Misinterpretation: Appellant had provided
  this motion in order that the Appellate court might be able to use it, if appropriate,
  to extend any sources of jurisdiction found, if necessary, which might help in just
  resolution of the case [8Doc 24 pl4 II(t)].
  B. Other Issues
     1. Recusal (here Panel claims to review a case Hartz decided 'de novo'):
     From Appellant's newly informed perspective, the lower Judge and her court
  Clerk were also effectively complicit in the negligence in not reporting the trunca-
  tion of his document (NOTE: Instead of destroying information, the Court could
  perform the duplication of information they claim to require at that time instead);
  which amplified the apparent illogic & prompted nebulous requests which
  Appellant feels resulted in a breadth of work which should generally not be
  required, especially of 'Pro Se' Litigants Further, by accepting her~ representa-
  tion of not having read the Motions on which it was indicated that an Asian
  Pacific company may be held accountable for seven figures+ in stock valuations,
  this panel appears to be claiming that her conflicts there do not exist because she
  was not sufficiently been made aware of them? Appellant's preference for a recti-
  fication of the gender bias shown in his contributory court case judicial assign-
  ments was shown in his original email of 3/13/23 to that lower
  Clerk/<cod_prose_filing> [~Doc 24, VII(b)], which also contained his unmodi-
  fied 'Civil Cover Sheet', which Clerk he called & ensured the email was read.
  Appellant is not aware of what 'race' she may be considered, other than hominid;
  the nation where her parents lived when she was born is a matter of public record.
     If that Court had simply requested Appellant to ~expound upon 42 U.S.C.
  1983, Appellant could have done so much more expediently and efficiency.


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  Appellant informed her [~Doc 32 A] that a professional (with access to his
  untampered-with files) was able to determine jurisdiction readily. The U.S. court
  system's current regulations ~against non-law graduates practicing law greatly
  reduces the potential value of generally researching Jurisdiction to 'Pro Se' liti-
  gants (unlike research in one's own areas of expertise), and thus Appellant
  believes that the requested general jurisdictional research should have been
  unnecessary (especially given the errant modifications to his 'Civil Cover Sheet'),
  and thus (if without hope for compensation or admission to the bar without a law
  degree, unlike in Abraham Lincoln's time) inferrably could even be seen as a
  form of slavery (i.e. 8th & 13th amendment violations), and thus further
  inferrably should generally likely be assigned to a qualified ~'Special Master'.
     2. Sealed Documents and Privacy Concerns: Appellant only has access to
  'pacer', which indicates documents are currently 'Reserved' (which sources claim
  may be a lesser status than 'Sealed'; this in combination with her denial of the
  Motion, and potential for exposure, are/were concerning to Appellant, and further
  prompted significant redaction and withholding of more confidential files during
  the case, including delaying the evidence of collusion she was complaining of not
  being provided (then provided after redactions, in Exhibit L [@Brief p8]).
  (FWIW, since Appellant's last filing in this court, this has included confidential
  constitional amendment violations by the City that he has been unable to securely
  file, who is now even claiming he isn't a resident+, contrary to DMV+).
     3. Consolidation of State-Court Lawsuits:
     Supporting Analogies and Concepts:
     • Supplemental Jurisdiction (28 U.S.C. § 1367)
     • Doctrine of Necessity in Judicial Practice


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   • Cases Involving Broad Interpretations of Federal Jurisdiction (e.g., Grable)
   • Multidistrict Litigation (MDL) as an Analogy for Consolidation (of such).
   • Judicial Efficiency-and Avoidance of Conflicting Judgments as Policy Goals
   In this unique case, where both state and federal legal matters intricately inter-
twine around the complex issue of collecting on the value of interstate stock, we
propose an innovative consolidation under the federal court's jurisdiction. This con-
solidation is not only warranted by the significant overlap in the objective of recov-
ering stock valuation for a just resolutin in the state and federal cases but is also nec-
essary to achieve a just outcome. Although direct precedents are scarce, the Courts
have previously adopted flexible approaches in complex, multi-jurisdictional cases
(as seen in cases like Grable v. Darue) demonstrating a willingness to ensure com-
prehensive and just resolutions. In this context, consolidation may serve not only the
interests of judicial economy but also the broader goal of providing a coherent and
unified legal remedy for interconnected disputes.
         Perhaps Best Precedent for Merger/ Consolidation of Cases(?):
          {United Mine Workers of America v. Gibbs, 383 U.S. 715 0966)
On Note #8 / Service of Process on the HOA: Appellant thinks that he has covered
service on the HOA relatively thoroughly Brief [pl4(III)], and that Court systems in
general should be updated to more effectively allow, even encourage, service of
process, and electronic communications in general. Appellant recommends that the
Courts encourage Defendant(s)' participation in any further proceedings in this case.
   4. Objections to Refusal to Consolidate
   • Appellant recalls that the mandatory Jury Duty video we were required to
watch even explicating via Supreme Court Justice that they knew it can be intimidat-
ing, so this Panel's claims that this was merely my perception are in conflict with


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  U.S.C.
      • The 'Motion for Writ of Mandamus' to 'quash' the Jury Duty succeeded in
  its goals despite obstructions, and thus continuing with it was not necessary
   (though he intended to if they persisted). Appellant thinks it worth noting, also,
   the unjust contradiction illustrated by Defendants' potential necessity to partici-
   pate in that action but not the current one (which prompted their entry of appear-
  ance+ here) - in that Court having claiming alternately first to have a total absense
  of jurisdiction, and yet enough jurisdiction to summon him ~60 miles.
      • No: in now verifying (reportedly at cost to him) Appellant's Objection fil-
   ings were supposed to be first [@Doc '11033713' of 10/02/23] to the Mandamus
   failings & Jury Duty issues, and second to the Clerk independently issuing judge-
   ment on major components of his case (i.e. service [@Brief Argument III(b)]) via
   Policy rather than this Court having judged it using actual law passed by
   Congress, as requested. This Court's Clerk appears to have somehow entered a
  duplicate document [@Doc '11034700' of 10/05] (which was mailed before the
   Clerk told him it would be too late if not by hand) instead of the one questioning
   Clerks' judgement [supposed to be in @Doc '11037640' of 10/18/23].
  III. Panel's 'CONCLUSION'
      Appellant objects to ~all but vacating of lower Judge's denial of his motion.
                     Adjudication via Policy vs Neural Network:
      In Appellant's professional opinion as a software engineer, from an artificial
   intelligence perspective, the continued claims that Court Policy should prevail
   over intelligent evaluation of substantive law appear to be an obvious fallacy also
   (i.e. particularly given that the policy driven/~'expert system' engine Stockfish
   was ~annihilated by the neural network powered engines, several years ago ago,


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  and forced to switch to remain competitive), which Appellant considers to demon-
  strate that it is important to rectify. Claims that adhering to such policy are neces-
  sarily more efficient appear to be at least asymptotically narrowing.
  Appellant's choice of 'Petitioning' for 'En Banc' Rehearing:
     Contributive Factors: include the amount of issues this Court still appears to
  consider obstacles, and the relatively very low rate at which the Supreme Court is
  currently said to be able to handle cases, and certiorati limit of 5 issues, and the
  apparent proportion of mistakes in this Panel's efforts to verify his own filings
  (who also appear from Appellant's perspective to have failed to appoint for them-
  selves 'Special Master'(s) sufficiently adept at logic (and printing software) as he
  had recommended for improved evaluation of his case in the lower court), as well
  as the (random?) choice to include Mr Hartz amongst the panel when two of the
  prospective defendant entities bear the English (vs German) version of the 'Hart'
  name (and being from the same Alma Mater as the Judge below).

  Wherefore, Appellant Moves that, God willing, if this Court wants to progress in
  directions which could make the the U.S. Court system better than it ever has
  been before, that this Court should support this "Petition for Rehearing 'En
  Banc"' on the 'Appeal Brief' & motions/support therein, correct the record with
  the attachments if permitted, and even, if appropriate, additionally for a ~mistri-
  al/new trial below, given ~prejudice by record tampering & falsification, etc, and
  for any other beneficial relief deemed just and appropriate.

                                    Optional Extras:
   Dangers of Monopoly vs Constitutional tendency ~ Diversity in Governance
     If one software company were allowed to monopolize the form printing indus-


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  try without sufficient competition, such company might rig the standards in such a
  way that only they could implement well (or, perhaps due to lack of competitive
  improvement, so ambiguous that competitors might implement them insincerely).
     Another example: If one university were allowed to obtain a monopoly on
  supreme court appointments, such justices might cause policy to either be created
  in line with cryptic logical rules known only to themselves, and subsequently go
  back and teach changes to only their 'Alma Mater's students, so only they, and
  clients who can afford to hire them, could best understand how to navigate such
  policy (or so ambiguous that foreigners might take advantage of the situation by
  deliberately misinterpreting the intent thereof) ...
     Conclusion: Appellant's detail in the above has been constricted due to word
    count limits. Appellant intends at this point, with what he knows now, to most
   likely file for 'Writ of Certiorari' relatively soon (so if this court has adjustments
  to its position, and doesn't want the U.S.C. to be informed of recorrd tampering or
    falsification issues, etc. (or has a modified position which might affect the <= 5
  issues that he prioritizes to the U.S.C.) then Appellant recommends that this Court
     should let him know within two weeks, before 'booklets' may have to go into
   printing). The electronic files that Appellant provided links to Clerks with in ser-
       vice emails are still on his servers at the same location they were when he
                                    emailed, if needed.




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                            CERTIFICATE OF SERVICE
   I hereby certify that a copy of this 'PETITION FOR REHEARING+ NOTICE
   OF TAMPERING OR FALSIFICATION OF THE RECORD, +USC
   CONFLICTS,+ LIKELY CERTIORARI' has also been served via having been
   posted by regular mail upon [Suzanne Leff, Attorney, WLPP Law, 8020 Shaffer
   Parkway, Suite 300, Littleton, CO 80127], as well as being served electronically
   via eMail upon both Suzanne M. Leff <sleff@wlpplaw.com> (current
   'RegisteredAgent'), and Christine Mollenkopf <christine@boulderhoa.com>:
   Whittier HOA billing (located at the prior registered agent's address, ~ at the time
   of the fire), and further emailed to the DWS_vs_Whittier_HOA_+_notifier@x-in-
   g.com list which has been made available to residents who express( ed) an interest
   in subscribing, +added extra lawyers.


     Appellant herein has been asked to speak for a number of things that appear to
   him and his advice to ~'speak for themselves', which, if using over 2000 year old
   logic appears seemingly can ~easily be expressed using 'hypothetical syllogisms'
        which are not actually considered hypothetical at all, rather, well proven.




     Saying of Native American Relatives: "White Man speak with forked tongue."




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                                                                                                                                                                                        As viewed, and 1f printed. on Apple Macintosh Macllook Air MI, OSX 12,6, Preview 11,0,
              Appellate Case: 23-1197
JS 44 (Rev. 11115) District of Colorado Fonn                                         CIVIL 010110984864
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                                                                                                               Filed: to 10th01/16/2024                   Page:
                                                                                                                             Circuit Case# 23-CV-00645, Appellate        16 on 0 1/1512024
                                                                                                                                                                  Case# 23-1197

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUC110NS ON NEXJ' PAGE OF THIS FORM)

I. (a) PLAINTIFFS                                                                                                                                               DEFENDANTS
           David William Dacres Shaver                                                                                                                          Whittier Place Condominiums H.O.A., Inc.;
                                                                                                                                                                (c/o Christine T Mollenkopf, 'President')
     (b) County of Residence of First Listed Plaintiff                                                                                                          County of Residence of First Listed Defendant                       _B_o_u_ld_e_r_,_C_O______
                                 (ID(CEPTINU.S. P!.AINT!fl;CASHS)                                                                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                                                NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                           THE TRACT OF LAND INVOLVED.

     (C) Attorneys (Firm Name, Address, and Telephone Number)                                                                                                   Attorneys (If Known)

          PRO SE : 1750 30th St Suite A338, Boulder CO 80301,
                   303-351-4239

II. BASIS OF JURISDICTION (!'lace an "X" in One Box Only)                                                                             III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" tn one Box.for Plainti
                                                                                                                                                        (For Diversity Cases Only)                                                           and One Box for Defendant)
0 I     U.S. Government                        0 3      Federal Question                                                                                                                     PTF    DEF                                                     PTF       DEF
           Plaintiff                                      (U.S. Government Not a Party)                                                         Citizen of This State                        O 1    0 I       Incorporated or Principal Place                O    4   0 4
                                                                                                                                                                                                                of Business In This State

0 2 U.S. Government                            0 4      Diversity                                                                               Citizen of Another State                     0 2     0    2   Incorporated and Principal Place               0    5   0 5
           Defendant                                      (Indicate Citizenship ofParlies in Item Ill)                                                                                                           of Business In Another State

                                                                                                                                                Citizen or Subject of a                      0 3    0     3   Foreign Nation                                 0    6   0 6
                                                                                                                                                  Forei n Count
IV. NATURE OF SUIT (Place an "X" in One Box Only)
I•         •CONTIHCT'•.•.··,,,'•',               '•',   . . . ·,•. ·   ...     TORTS >, \,        _:i·   -- -,,   -,   -> -, ; -·· _;·, ·-:-.         FORFEITURE/PENALTY                       .         BANKRUPTCY           '         •.   ·•   OTHER STATUTES          .• I
0 110 Insurance                                 PERSONAL INJURY                           PERSONAL INJURY                                       0 625 Drug Related Seizure                     0 422 Appeal 28 USC 158                       0 375 False Claims Act
0 120 Marine                                  0 310 Airplane                         0 365 Personal [njury -                                                of Property 21 USC 881             0 423 Withdrawal                              0 376 Qui Tam (31 USC
0 130 Miller Act                              0 315 Airplane Product                          Product Liability                                 0 690 Other                                              28 USC 157                                3729(a))
0 140 Negotiable Instrument                Liability                                 0 367 Health Care/                                                                                                                       0                400 State Reapportionment
0    150 Recovery of Overpayment 0 320 Assault, Libel &                                       Phannaccutical                                                                                      •rROP•.,•YRIGHTS·•.. ·. • . 0                410 Antitrust
         & Enforcement of Judgment         Slander                                            Personal Injury                                                                                  0 820 Copyrights               0                430 Banks and Banking
0    151 Medicare Act               0 330 Federal Employers'                                  Product Liability                                                                                0 830 Patent                   0                450 Commerce
0    152 Recovery of Defaulted             Liability                                 :::J 368 Asbestos Personal                                                                                0 840 Trademark                0                460 Deportation
         Student Loans              0 340 Marine                                               Injury Product                                                                                                                 0                470 Racketeer Influenced and
                                                                                                                                                ,,,
         (Excludes Veterans)        0 345 Marine Product                                      Liability                                                ,'   >     l'Am•~            i            tS u IAL SE< URITY                ''              Corrupt Organizations
0    153 Recovery of Overpayment           Liability                                   PERSONAL PROPERTY 0 710 Fair Labor Standards                                                            0 861 HIA (1395ft)             0                480 Consumer Credit
         of Veteran's Benefits      0 350 Motor Vehicle                              0 370 Other Fraud                                                      Act                                0 862 Black Lung (923)         0                490 Cable/Sat TV
0    160 Stockholders' Suits        0 355 Motor Vehicle                              0 371 Truth in Lending                                     0 720 Labor/Management                         0 863 DIWC/DIWW (405(g)) 0                      850 Securities/Commodities/
0    190 Other Contract                   Product Liability                          0 380 Other Personal                                                   Relations                          0 864 SSID Title XVI                                Exchange
0    195 Contract Product Liability 0 360 Other Personal                                   Property Damage                                      0 740 Railway Labor Act                        0 865 RSI (405(g))             0                890 Other Statutory Actions
0    196 Franchise                        Injury                                     0 385 Property Damage                                      0 751 Family and Medical                                                      0                891 Agricultural Acts
                                    0 362 Personal Injury -                                Product Liability                                                Leave Act                                                         0                893 Environmental Matters
                                          Medical Malpractice                                                                                   0 790 Other Labor Litigation                                                  0                895 Freedom of lnfonnation
I .. • ••REAL PROPERTY               ····•.       CIVIU RIGHTS•,. •·• ·• ·.• PRISONER PETITIONS                                                 0 791 Employee Retirement                      • • FEDERAL TAX SUITS
                                                                                                                                                                                                                                        ,,
                                                                                                                                                                                                                                                   Act
0 210 Land Condemnation                       0 440 Other Civil Rights                   Habeas Corpus:                                                     Income Security Act                0 870 Taxes (U.S. Plaintiff    0                896 Arbitration
0 220 Foreclosure                             0 441 Voting                           0 463 Alien Detainee                                                                                             or Defendant)           0                899 Administrative Procedure
0 230 Rent Lease & Ejectment                  0 442 Employment                       0 510 Motions to Vacate                                                                                   0 871 IRS--Third Party                              Act/Review or Appeal of
0 240 Torts to Land                           0 443 Housing/                                   Sentence                                                                                                  26 USC 7609                               Agency Decision
0 245 Tort Product Liability
0 290 All Other Real Property
                                                    Accommodations
                                              0 445 Amer. w/Disabilities -
                                                                                     0 530 General
                                                                                     0 535 Death Penalty                                          ·•. ., .· IMMIGRATION·                                                           .         0 950 Constitutionality of
                                                                                                                                                                                                                                                   State Statutes
                                                    Employment                         Other:                                                   0 462 Naturalization Application
                                              0 446 Amer. w/Disabilities -           0 540 Mandamus & Otl1er                                    0 465 Other Immigration
                                                    Other                            0 550 Civil Rights                                                     Actions
                                              0 448 Education                        0 555 Prison Condition
                                                                                     0 560 Civil Detainee -
                                                                                               Conditions of
                                                                                               Confinement

V. ORIGIN (Place on "X" in One Box Only)
il!( I Original           O 2 Removed from                              0    3      Remanded from                                  0 4 Reinstated or                       0 5 Transferred from                0 6 Multidistrict
        Proceeding            State Court                                           Appellate Court                                    Reopened                                Another District                    Litigation
                                                                                                                                                                                   (specify)
                                                  Cite the U.S. Civil Statute under which you are filing (Do not citej11risdictional statutes unless diversity):
                                                        Common Law: Replevin (FRCP Rule 64 and/or 65), potentially with Preliminary Injunction (CRCP Rule 104 and/or 365) [including violations of 42 U.S.C. 1983]

VI. CAUSE OF ACTION Brief description of cause:                                                                                                                                                     AP Docket
                                                        Initial Cause ol Action is Aeplevin of -Seized Property in Unit of Fire Damaged Building

VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION                                                                                               DEMANDS
                                                                                                                                                        Preferred: Preliminary Injunction,
                                                                                                                                                                                                           CHECK YES only if demanded in complaint:
     COMPLAINT:       ? UNDER RULE 23, F.R.Cv.P.                                                                                                       and >= $5 Million                                   JURY DEMAND:                           0 Yes      O No
VIII. RELATED CASE(S)
                       (See instn,ctions):
      IFANY                                JUDGE                                                                                                                                                   DOCKET NUMBER
DATE                                                                                      ~TUR.lj~ ,t-TT                                        NEY OF RECORD
          3.13.2023
                                                                                          t"::::-:i:-"':t/ JJ..L                          1,g.u~-/s/David W Shaver
FOR OFFICE USE ONLY

     RECEIPT#                        AMOUNT                                                    APPL YING IFP                                                                   JUDGE                                    MAG.JUDGE
                                 @        2 •                                                                                                                                                                                     lrmz;;aw_::z:aa
Appellate Case: 23-1197     Document: 010110984864         Date Filed: 01/16/2024     Page: 17



   ■United States Court of Appeals for the Tenth Circuit

   Address: 1823 Stout Street 2 Denver1 CO 80257
  Appellant:       David William Dacres Shaver
  Vs. Appellee(s): Whittier HOA [Whittier Place
  Condominiums Homeowners Association, Incorporated]+ Ii COURT USE ONLY
   'Pro Se'Party/Not member of Colorado Bar:       Case Number:
   David William Dacres Shaver
   1750 30th St Suite A338, Boulder CO 80301              23-1197
   Phone: 303-351-4239 eMail:davidshaver@yahoo.com
    OBJECTION TO CLERK'S ORDERS TO THE EFFECT THAT COURT

   POLICY SUPERSEDES LAW, AND REQUEST FOR JUDICIAL REVIEW

  Given that Appellant's last objection was highlighted as being an objection to a "Clerk's

  Order'' alone, and the fact that discussions with clerks have variously indicated that the

  case wasn't being deliberated on yet (prior to Appellant's filing dated 10/01 ), and the

  latest 'Panel Assignment' shows no judges yet assigned to the case, in the interests of

  'Preservation of Issues', 'Correcting the Course', and 'Procedural Fairness', Appellant

  hereby makes his general objection to Clerks ruling on issues on the basis of policy

  alone, when Appellant believes that his filings have made it clear that law and prece-

  dent support his positions. In addition to the objection over the Jury Summons issues

  already presented, here is additional support for those arguments contained in

  'Argument C' of his appeal brief (and those in the the referenced [Jeffco

  Case#21C417, Memorandum of 6.3.2021], which argued that Defendants' notice &

  service of process should be considered sufficient:

  1. Goldberg v. Kelly, 397 U.S. 254 {1970)               Key Principle: Right to Be Heard

     •   The Court held that due process requires an opportunity to be heard and pre-

  sent one's case, as well as the ability to confront adverse witnesses, in certain pro-


                                                                                     Page 1
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  ceedings that might result in the deprivation of a property interest.

  2. Fuentes v. Shevin, 407 U.S. 67 (1972) Key Principles: Due Process, Property Rights

     •   Fuentes v. Shevin explored the right to due process in the context of the seizure

  of property, holding that, in most instances, due process requires notice and a hearing

  before the state can interfere with a person's property rights.

  3. United States v. 51 Pieces of Real Property, Roswell, N.M., 17 F.3d 1306 (10th

  Cir. 1994), Key Principles: Substantial Compliance, Illegal Seizures I Forfeitures

     •   The 10th Circuit indicated that where the party that had to be served personally

  received actual notice, and no actual prejudice occurred, a technical failure to comply

  strictly with the provisions of [FRCP 4] may not invalidate the service of process (yet in

  this case, Appellant's property appears to have been effectively ~forfeited anyhow).

     Appellant's property interests were clearly at risk, and yet he was denied the right

  to be heard before his property was destroyed, apparently merely on the claimed basis

  of technicalities. Appellant believes that there was "substantial compliance" with ser-

  vice of process requirements that any deficiency did not 'prejudice' Defendant(s) (who

  in addition to Appellant's email evidence, in their own filing made to this court, appar-

  ently even admits to having received Appellant's mailings), and that the Courts should

  be prioritizing the pursuit of substantive justice over policy.

  WHEREFORE, Appellant Objects to any ~adjudication which may have occurred of major

  points of this Case by Clerks alone, and Moves that, God Willing, this Court should

  reconsider and/or perform a Judicial Review, including any additional information con-

  tained in this filing, and for any other relief deemed just and/or appropriate.




                                                                                       Page 2
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                            CERTIFICATE OF SERVICE

   I hereby certify that a copy of this 'OBJECTION TO CLERK'S ORDERS TO

   THE EFFECT THAT COURT POLICY SUPERSEDES LAW, AND

   REQUEST FOR JUDICIAL REVIEW'has also been served via having been

   posted by regular mail upon [Suzanne Leff, Attorney, WLPP Law, 8020 Shaffer

   Parkway, Suite 300, Littleton, CO 80127], as well as being served electronically

   via eMail upon both Suzanne M. Leff <sleff@wlp-plaw.com> (current

   'RegisteredAgent'), and Christine Mollenkopf <chris- tine@boulderhoa.com>:

   Whittier HOA billing (located at the prior registered agent's address,~ at the time

   of the fire), and further emailed to the DWS_vs_Whittier_HOA_+_notifier@x-in-

   g.com list which has been made available to residents who express(ed) an interest

   in subscribing, +added extra lawyers.




   Address: 1750 30th St Suite A338, Boulder CO 80301           Phone: 303-351-4239

                                                                                Page 3
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                      UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                 Byron White United States Courthouse
                                           1823 Stout Street
                                       Denver, Colorado 80257
                                            (303) 844-3157
                                       Clerk@calO.uscourts.gov
  Christopher M. Wolpert                                                         Jane K. Castro
  Clerk of Court                                                             Chief Deputy Clerk
                                       January 02, 2024


  David William Dacres Shaver
  1750 30th Street, Unit A338
  Boulder, CO 80301

  RE:       23-1197, Shaver v. Whittier Condominiums HOA
            Dist/Ag docket: l:23-CV-00645-NYW

  Dear Appellant:

  Enclosed is a copy of the order and judgment issued today in this matter. The court has
  entered judgment on the docket pursuant to Fed. R. App. P. Rule 36.

  Please contact this office if you have questions.

                                              Sincerely,



                                              Christopher M. Wolpert
                                              Clerk of Court



   cc:      Wendy E. Weigler




   CMW/jm
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                                                                                   FILED
                                                                       United States Court of Appeal
                       UNITED STATES COURT OF APPEALS                          Tenth Circuit

                                 FOR THE TENTH CIRCUIT                       January 2, 2024

                                                                          Christopher M. Wolpert
                                                                              Clerk of Court
   DAVID WILLIAM DACRES SHAVER,

        Plaintiff - Appellant,

   V.                                                         No. 23-1197
                                                    (D.C. No. 1:23-CV-00645-NYW)
   WHITTIER CONDOMINIUMS HOA,                                  (D. Colo.)

         Defendant - Appellee.


                                 ORDER AND JUDGMENT*


  Before HARTZ, MATHESON, and PHILLIPS, Circuit Judges.


        David William Dacres Shaver, proceeding pro se, appeals the district court's

  sua sponte dismissal of his lawsuit for lack of subject-matter jurisdiction. He also

  challenges certain procedural orders. Exercising jurisdiction under 28 U.S.C. § 1291,




         * After examining the briefs and appellate record, this panel has determined
  unanimously that oral argument would not materially assist in the determination of
  this appeal. See Fed. R. App. P. 34(a)(2); 10th Cir. R. 34.l(G). The case is therefore
  ordered submitted without oral argument. This order and judgment is not binding
  precedent, except under the doctrines of law of the case, res judicata, and collateral
  estoppel. It may be cited, however, for its persuasive value consistent with
  Fed. R. App. P. 32.1 and 10th Cir. R. 32.1.
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  we affirm except we remand for further proceedings on Mr. Shaver's motion to seal

  certain materials. 1

                                    I. BACKGROUND

         This case concerns the aftermath of a fire at the Whittier Condominiums where

  Mr. Shaver lived in the City of Boulder. In his complaint, Mr. Shavers alleged that a

  police officer ordered him to evacuate immediately, he left behind personal property,

  the City has prevented him and other residents from returning to collect their

  property, and the City planned to tear down the damaged buildings.

          Mr. Shaver's complaint attempted to assert a replevin claim against the

  Whittier Condominiums HOA. For federal jurisdiction, he invoked Federal Rule of

  Civil Procedure 64 (governing seizure of persons or property to secure a potential

  judgment) and Colorado Revised Statutes § 13-6-104(1) (governing Colorado county

  court jurisdiction). He also stated that "the issues involve interpretations of the

  U.S. Constitution's 4th, 5th and 14th amendments (pursuant to 28 U.S.C. § 1331)."

  R. at 5. 2

          The district court ordered Mr. Shaver to show cause why the case should not

  be dismissed for lack of subject-matter jurisdiction. In response, he pointed to

  Grable & Sons Metal Products, Inc. v. Darue Engineering & Manufacturing, 545


          1 Because Mr. Shaver appears pro se, "we liberally construe his filings, but we

  will not act as his advocate." James v. Wadas, 724 F.3d 1312, 1315 (10th Cir. 2013).
          2 Mr. Shaver did not sue the City of Boulder, though he sent the City a notice

  of claim.

                                              2
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  U.S. 308 (2005), which described when "federal-question jurisdiction will lie over

  state-law claims [between nondiverse parties] that implicate significant federal

  issues," id. at 310, 312. He said the significant federal issues would be "[t]he

  interpretation and application of the 4th, 5th, and 14th Amendments in cases

  involving the wrongful detention of property [which] implicate the balance between

  individual rights and the interests of property owners." ROA at 33. He also asserted

  that because his allegations demonstrated the HOA was acting under color of state

  law, 42 U.S.C. § 1983 could provide jurisdiction. He further invoked the Declaratory

  Judgment Act, 28 U.S.C. § 2201.

        The district court rejected these arguments. It found no likelihood under

  Grable that federal constitutional issues would arise in a property dispute between

  two private actors and that the case would otherwise be too fact-bound to create a

  significant federal issue. The court said his allegations did not show the HOA had

  acted under color of state law and concluded that "he cannot rely on section 19 83 as a

  basis for federal jurisdiction." ROA at 4 7. Finally, following case law, it said the

  Declaratory Judgment Act is not a basis for jurisdiction.

         The district court thus held it did not have subject-matter jurisdiction and

  dismissed the complaint without prejudice, allowing Mr. Shaver three weeks to file

  an amended complaint. It warned that failure to file a timely amended complaint

  would end the case.




                                              3
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        Instead of filing an amended complaint, Mr. Shaver moved for authorization to

  file an interlocutory appeal. The district court denied his motion and entered final

 judgment. 3 This appeal followed.

                                     II. DISCUSSION

        Mr. Shaver challenges the district court's dismissal of his complaint for lack of

 jurisdiction. He also raises several other issues. We address only those arguments

  that Mr. Shaver makes in his appellate briefing. 4

                              A. Subject-Matter Jurisdiction

        "If the court determines at any time that it lacks subject-matter jurisdiction, the

  court must dismiss the action." Fed. R. Civ. P. 12(h)(3). We review such a dismissal

  de novo. Mukantagara v. U.S. Dep 't of Homeland Sec., 67 F .4th 1113, 1115

  (10th Cir. 2023).

  1. Section 1983

        The district court said § 1983 could not support jurisdiction because

  Mr. Shaver had failed to allege the HOA was a state actor or was otherwise acting


         3 The HOA had not made an appearance by this point.


        4 In his brief, Mr. Shaver attempts to incorporate arguments made in the

  district court. See, e.g., Aplt. Br. at 6 ("Overall, this appeal seeks to cover the
  majority of appealable points raised in [a particular district court filing], the others
  appearing inferrable [sic] hereby."); id. at 7 ("The District Court Judge's objections
  against Appellant's filings generally appear ... refuted by subsequent filings[] [and]
  supplied precedents .... "). Merely referring to district court filings does not
  adequately present a claim of error on appeal. See Gaines-Tabb v. ICI Explosives,
  USA, Inc., 160 F.3d 613, 623-24 (10th Cir. 1998).

                                              4
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  under color of law. We prefer to affirm on a more direct ground, namely, Mr. Shaver

  never pled a § 1983 cause of action. In his brief, Mr. Shaver says the civil cover

  sheet filed with his complaint "clearly states 'violations of 42 U.S.C. 1983,"' Aplt.

  Br. at 6, but it did not. In the box requiring the plaintiff to cite the statutory basis of

  the claim, Mr. Shaver wrote, "Common Law: Replevin (FRCP Rule 64 and/or 65),

  potentially with Preliminary Injunction (CRCP Rule 104 and/or 3."5 ECF No. 1-1

  § VI. 6 And in the box requiring a brief description of the claim, he wrote, "Initial

  Cause of Action is Replevin of ~Seized Property in Unit." Id. Nowhere did he

  reference § 1983 on the cover sheet or in the complaint.

         Although Mr. Shavers briefly referred to § 1983 in his response to the order to

  show cause, § 1983 was absent from his complaint, and he failed to amend. Thus,

  § 1983 does not provide subject-matter jurisdiction. We affirm on this alternate

  ground. 7




         5 He seems to have run out of space in the fillable form field.


         6
         We grant Mr. Shaver's motion to supplement the record as to ECF No. 1-1,
  ECF No. 2, and ECF No. 25. The Clerk of Court shall create a supplemental record,
  volume II, containing these documents. We otherwise deny the motion to •
  supplement.
         7 "[W]e may affirm on any basis supported by the record, even if it requires

  ruling on arguments not reached by the district court or even presented to us on
  appeal." Richison v. Ernest Grp., Inc., 634 F.3d 1123, 1130 (10th Cir. 2011).

                                                5
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  2. Grable

           Mr. Shaver alleged that his case implicated various federal constitution

  provisions. He argued to the district court and argues here that Grable thus supports

  jurisdiction. We disagree.

           Grable cases comprise a "special and small category." Empire Healthchoice

  Assur., Inc. v. McVeigh, 547 U.S. 677, 699 (2006). For jurisdiction, they generally

  require an important, unresolved issue of federal law that will inevitably arise, and

  once resolved, will govern numerous later cases. Id. at 700. Mr. Shaver never

  explains how his suit against the HOA would raise such an issue. We thus affirm the

  district court's conclusion that Grable does not support subject-matter jurisdiction.

  3. Declaratory Judgment

           As to the Declaratory Judgment Act, the district court correctly held that the

  "Act does not confer jurisdiction upon federal courts, so the power to issue

  declaratory judgments must lie in some independent basis of jurisdiction."

  Cardtoons, L.C. v. Major League Baseball Players Ass'n, 95 F.3d 959,964 (10th Cir.

  1996).

                                          *    *   *    *
           We affirm the district court's sua sponte dismissal of Mr. Shaver's complaint

  for lack of subject-matter jurisdiction. 8



           8
       We do not reach Mr. Shaver's argument about whether he properly served the
  HOA with process. Because the district court lacked jurisdiction, the matter is moot.

                                               6
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                                      B. Other Issues

  1. Recusal

        In his response to the district court's order to show cause, Mr. Shaver claimed

  the court was "unduly burdening [him] ... with basic research" and had "displayed

  impatience" by issuing the order, ROA at 36, 3 7, and then asked the district judge to

  recuse herself. She denied this request, noting the court had an affirmative duty to

  determine whether it had subject-matter jurisdiction.

        "We review the denial of a motion to recuse for an abuse of discretion." Bryce

  v. Episcopal Church in the Diocese of Colo., 289 F .3d 648, 659 (I 0th Cir. 2002).

  The district court properly raised and addressed whether it had jurisdiction. We

  discern no abuse of discretion and affirm. 9

  2. Motion to Seal

        Mr. Shaver filed several exhibits in support of his complaint, some of them

  under seal. He also filed a motion to seal. One sealed exhibit, "Exhibit J," was too

  big to upload, so he mailed a flash drive to the district court clerk's office, which

  accepted the flash drive and stored it in a filing cabinet.

         When the district court dismissed Mr. Shaver's complaint, it denied pending

  motions "as moot," including the motion to seal. ROA at 54. Mr. Shaver now argues

  the court left his sealed information "unprotected." Aplt. Br. at 13.


         9 On recusal, Mr. Shaver also mentions the district judge's gender and ethnic

  background. He never raised these matters below and his arguments are wholly
  without merit.

                                                 7
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         Apart from Exhibit J, the district court docket shows the materials remain

  sealed· despite the district court's denial of the motion to seal. The docket entry does

  not say whether Exhibit J is sealed.

         The sealed status of these materials needs clarification. We vacate the denial

  of the motion to seal and remand for further proceedings on this issue. 10

  3. State-Court Lawsuits

         Shaver apparently has two ongoing lawsuits in Colorado state court having to

  do with the property of his late father. In his brief, he asks this court to create a

  single, consolidated proceeding in which all issues from his state and federal lawsuits

  may be resolved. We are not aware of any authority permitting such relief, so we

  reject this request.

  4. Objections to Refusal to Consolidate

         While this appeal was pending, Mr. Shaver received a federal jury summons,

  which he perceived as harassment or retaliation for bringing this appeal. He filed a

  mandamus petition to quash the jury summons, which became No. 23-1258. He then

  filed a motion to consolidate this appeal (No. 23-1197) with the mandamus

  proceeding. The Clerk of Court denied the motion to consolidate, and the mandamus

  proceeding has since been dismissed for lack of prosecution.



         10 Mr. Shaver also points out documents he filed in the district court that he

  marked "Intended Sealed," see, e.g., Suppl. ROA, Vol. I at 5, and says these also
  should be sealed. Because he did not file a motion to seal them, we do not discuss
  them.

                                               8
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        Mr. Shaver has filed two "objections" to the Clerk's order denying his motion

  to consolidate. We construe them as motions to reconsider and deny them as moot in

  light of our affirmance of the dismissal for lack of subject matter jurisdiction.

                                    III. CONCLUSION

         We (1) affirm the district court's dismissal for lack of subject matter

  jurisdiction, (2) affirm the district court's denial of Mr. Shaver's recusal motion,

  (3) vacate its denial of Mr. Shaver's motion to seal and remand for further

  consideration consistent with this opinion, (4) reject Mr. Shaver's request to

  consolidate his state-court lawsuits with this appeal, and (5) deny as moot

  Mr. Shaver's two "objections" to the Clerk of Court's order denying his motion to

  consolidate.


                                               Entered for the Court


                                               Scott M. Matheson, Jr.
                                               Circuit Judge




                                              9
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                                                           US COURT OF APPEALS
                                                                                                                                                II
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                                                        . DENVER CO 80257
                                                       \ti~) 844- 3167
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